Case 2:O5-cr-20091-SHl\/l Document 19 Filed 06/02/05 Page 1 of 2 PagelD 19

rN THE uNlTEo sTATEs olsTRlcr count misc er ll€‘i{ n.c.
FoR THE wEsTERN olsTchT oF TENNEssEE
wEsTERN olvlslol\l 05 JUl-€ -2 PH h= la

 

HOBERT i"l, §`,".'l THO£.ZO

uNrTEo sTATEs oF AMERch, §,“;§:‘,Q§l=@r'§§ ?l'§;;p§?§

Plaintiff,

VS.
CR. NO. 05-20091-B

S|DNEY THURMAN,

Defendant.

 

oRDER oN coNTlNuANcE AND sPEcherc PERloo oF Excl_queLE DELAY
AND _SIT_|I\§

 

This cause came on for a report date on lVlay 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

e ort date of Monda Ju| 25 2005 at 9:30 a.m., in Courtroom 1, 11th Floor of the

 

Federal Building, l'\/lemphis, TN.
The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161(h)(B)(B)(lv)becausethe ends ofjustice served in allowing for additional time

to prepare outweigh the need for a edy trial.

lT lS SO ORDERED this ne, 2005.

@NTE_L BREEN
Nl| ED STATES D|STR T JUDGE

 

~ ' om liance
doci nent entered on the docket slteet'ln _ pbs
This or 32(\)\ FFlGrP on ,__LQ__ _§_____.,,_

wlth n.ne 55 andl

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20091 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 .1 efferson Ave.

Ste. 200

1\/1emphis7 TN 38103

Stephanie Zander .1 ohnson
U S ATTORNEY'S OFFICE
167 N. Main St

Ste 800

1\/1emphis7 TN 38103

Michael Robert McCusker
US ATTORNEY'S OFFICE
167 North Main St

Ste 800

1\/1emphis7 TN 38103

Honorable .1. Breen
US DISTRICT COURT

